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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
                 v.                          :       Case No.: 1:23-mj-00003
                                             :
TROY WEEKS,                                  :
                                             :
                       Defendant.            :


                          NOTICE OF ATTORNEY APPEARANCE


       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is assigned to Assistant

United States Attorney, Kaitlin Klamann, who may be contacted by telephone at (202) 252-

6778 or by email at Kaitlin.klamann@usdoj.gov. This is notice of her appearance in this

matter on behalf of the United States.

                                                           Respectfully submitted,

                                                           MATTHEW M. GRAVES
                                                           United States Attorney
                                                           DC Bar No. 481052

                                                   By:     /s/ Kaitlin Klamann
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                                CERTIFICATE OF SERVICE

       On this 10th day of January 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.



                                                           /s/ Kaitlin Klamann
